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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE
 8 FEDERAL TRADE COMMISSION,                                No. 2:23-cv-0932-JHC
 9                             Plaintiff,                   STIPULATED MOTION AND ORDER
                                                            TO EXTEND CERTAIN EXPERT
10          v.                                              DISCLOSURE DEADLINES
11 AMAZON.COM, INC., et al.,

12                             Defendants.
13

14          Pursuant to Fed. R. Civ. P. 6(b)(1), LCR 7(d)(1), and LCR 10(g), the parties, by and
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     through their attorneys of record, respectfully request that the Court enter the Proposed Order set
16
     forth below, extending the deadlines for disclosure of certain expert testimony.
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            In support of this request, the parties represent the following to the Court:
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            1.      Under the Court’s scheduling order (Dkt. #199), the deadline for disclosure of
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20 expert testimony is February 24, 2025.

21          2.      Counsel for Plaintiff represents that on Friday, January 31, 2025, they were
22 informed that the father of an expert Plaintiff has retained (“Subject Expert”) has entered hospice

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     care and is expected to pass in a few weeks.
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     STIPULATION AND
     ORDER TO EXTEND CERTAIN EXPERT
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            3.      To accommodate Subject Expert so he may provide adequate support to his
 1

 2 family during this time, the parties stipulate, subject to Court approval, as follows and jointly

 3 request that the Court enter the following Proposed Order approving that stipulation:

 4               a. Plaintiff’s deadline to disclose the expert testimony of Subject Expert shall be
 5                  extended one-month to March 24, 2025.
 6
                 b. Defendants may serve any reports that rebut opinions offered in Subject Expert’s
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                    report within 30 days after the report’s disclosure. Specifically, Defendants’
 8
                    deadline to serve any reports that rebut opinions offered in Subject Expert’s report
 9

10                  will be April 23, 2025.

11               c. All other dates contained in the Court’s scheduling order (Dkt. #199) will remain

12                  the same.
13
            6.      The parties reserve all rights to request further extensions or modifications of
14
     deadlines, and to oppose any such requests.
15
            Stipulated to and respectfully submitted this 5th day of February, 2025, by:
16
                                                        FEDERAL TRADE COMMISSION
17                                                      Attorneys for Plaintiff
18                                                      By /s/_Sana Chaudhry_______
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                                                           Olivia Jerjian (D.C. Bar #1034299)
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     STIPULATION AND
     ORDER TO EXTEND CERTAIN EXPERT
     DISCLOSURE DEADLINES
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                                                FEDERAL TRADE COMMISSION
 7

 8                                              Approved and Agreed To By:

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26                                              Megan L. Rodgers*
     STIPULATION AND
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14                                              AMAZON.COM, INC., LINDSAY,
                                                GRANDINETTI, AND GHANI
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     STIPULATION AND
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                                            ORDER
 1
           IT IS SO ORDERED.
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 3         DATED this 6th day of February, 2025
 4

 5         ______________________________________
           JOHN H. CHUN
 6
           UNITED STATES DISTRICT JUDGE
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     ORDER TO EXTEND CERTAIN EXPERT
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